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 1   Jeffrey B. Isaacs, Esq., SBN 117104
     Jerome H. Friedberg, Esq., SBN 125663
 2   Paige Shen, Esq., SBN 162122
     Robert F. Gookin, Esq., SBN 251601
 3   ISAACS | FRIEDBERG LLP
     555 South Flower Street, Suite 4250
 4   Los Angeles, California 90071
     Telephone: (213) 929-5550/Facsimile: (213) 955-5794
 5   Email: jisaacs@ifcounsel.com
             jfriedberg@ifcounsel.com
 6           pshen@ifcounsel.com
             rgookin@ifcounsel.com
 7
     Attorneys for Plaintiffs STM Atlantic N.V.,
 8   STM Group, Inc., Emil Youssefzadeh and Umar Javed
 9
                                UNITED STATES DISTRICT COURT
10
                              CENTRAL DISTRICT OF CALIFORNIA
11
     STM ATLANTIC N.V., et al.,             Case No. 2:18-cv-01269-JLS-JCG
12
                      Plaintiffs,
13                                          Assigned to Hon. Josephine L. Staton
                vs.
14                                          PLAINTIFFS’ EVIDENTIARY
     DONG YIN DEVELOPMENT                   OBJECTIONS TO DECLARATION OF
15   (HOLDINGS) LIMITED, et al.,            DOUGLAS MARTIN FILED WITH
16                                          REPLY IN SUPPORT OF DEFENDANTS
                      Defendants.           SHIYUE LIU AND YUEN-CHEUNG
17                                          WONG’S MOTION TO DISMISS THE
                                            SECOND AMENDED COMPLAINT OR,
18                                          ALTERNATIVELY, STAY
                                            PROCEEDINGS
19
20                                          HEARING
                                            Judge:       Hon. Josephine L. Staton
21                                          Date:        January 18, 2019
                                            Time:        10:30 a.m.
22                                          Place:       Courtroom 10A
23                                          Complaint Filed:       Feb. 15, 2018
24                                          FAC Filed:             Feb. 25, 2018
                                            SAC Filed:             Aug. 14, 2018
25                                          Trial Date:            None Set
26
27
28


                PLAINTIFFS’ EVIDENTIARY OBJECTIONS TO DECLARATION OF DOUGLAS MARTIN
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 1                        PLAINTIFFS’ EVIDENTIARY OBJECTIONS
 2              Plaintiffs STM Atlantic N.V., STM Group, Inc., Emil Youssefzadeh and
 3   Umar Javed (collectively, “Plaintiffs”) object to the Declaration of Douglas Martin,
 4   filed by Defendants Shiyue Liu and Yuen-Cheung Wong on November 21, 2018
 5   (Dkt. 120-1) with their Reply in support of their Motion to Dismiss the Second
 6   Amended Complaint or, Alternatively, to Stay Proceedings (Dkt. 120), on the
 7   following grounds:
 8
 9      Material Objected To:                Grounds for Objection:            Ruling
      The Declaration should be       The moving party – here Defendants ___ Sustained
10    stricken in its entirety.       Liu and Wong – may not rely on
11                                    new evidence in their reply. See
                                      Townsend v. Monster Beverage         ___ Overruled
12                                    Corp., 303 F. Supp. 3d 1010, 1026-
                                      28 (C.D. Cal. 2018) (district court
13                                    struck new expert study submitted
14                                    with movant’s reply papers); Sweet
                                      v. Pfizer, 232 F.R.D. 360, 364 n.6 &
15                                    n.7 (C.D. Cal. 2018) (refusing to
                                      consider new declaration submitted
16                                    as part of reply); Crandall v.
                                      Starbucks Corp., 249 F. Supp. 3d
17                                    1087, 1104 (N.D. Cal. 2017) (“The
18                                    Court sustains Defendant’s objection
                                      to this [new] evidence and will not
19                                    consider it.”); Pena v. Taylor Farms
                                      Pacific, Inc., 305 F.R.D. 197, 206
20                                    (E.D. Cal. 2015) (“The court
21                                    disregards these additional
                                      declarations.”).
22
      Decl. ¶ 2, p. 2, ll. 6-9,       Lack of Foundation (Fed. R. Evid.    ___ Sustained
23    Exh. A:                         403, 405, 601 & 602).
24    “On November 6, 2018,           The transmittal letter is hearsay.   ___ Overruled
      Bronzelink Holdings Ltd.        (Fed. R. Evid. 801 & 802).
25    (‘Bronzelink’) commenced
26    an arbitration in the
      Hong Kong International
27    Arbitration Centre. A true
      and correct copy of the
28    Notice of Arbitration and
                                                  1
                 PLAINTIFFS’ EVIDENTIARY OBJECTIONS TO DECLARATION OF DOUGLAS MARTIN
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 1       Material Objected To:             Grounds for Objection:               Ruling
      the letter confirming its
 2    filing is attached as
 3    Exhibit A.”
      Decl. ¶ 2, p. 2, ll. 11-13:    Lack of Foundation (Fed. R. Evid.       ___ Sustained
 4                                   403, 405, 601, 602 & 701).
 5    “Global-IP Cayman was
      named as a nominal             Speculation and Hearsay (Fed. R.        ___ Overruled
 6    respondent ‘because the        Evid. 602, 701, 801 & 802).
      Company’s interests will
 7    be affected by [the            Best Evidence (Fed. R. Evid. 1002).
      arbitration proceedings],
 8    and it is a necessary          Improper Legal Conclusion and
      party.’”                       Improper Opinion of Lay Witness
 9                                   with respect to the term “necessary
10                                   party” (Fed. R. Evid. 701).
11                                   Mr. Martin holds no position and has
                                     no formal role in Bronzelink, which
12                                   was responsible for naming
                                     GIP-Cayman as a nominal
13                                   respondent. Accordingly, his
14                                   assertion is both speculative and
                                     hearsay. Moreover, he does not
15                                   support his assertion other than by a
                                     citation to Bronzelink’s Notice of
16                                   Arbitration, which is not competent
17                                   evidence of the reason why
                                     Global-IP Cayman was named a
18                                   nominal respondent. See Slevin v.
                                     Home Depot, 120 F. Supp. 2d. 822,
19                                   835-836 (N.D. Cal. 2000)
                                     (declaration based on speculation is
20                                   irrelevant and should not be
21                                   considered).
22    Decl. ¶ 3, p. 2, ll. 17-21:    Lack of Foundation (Fed. R. Evid.       ___ Sustained
                                     403, 405, 601, 602 & 701).
23    “[T]he issues raised in the
24    instant litigation are         Best Evidence (Fed. R. Evid. 1002).     ___ Overruled
      essentially the same as the
25    issues raised in the Notice    Misstates the Evidence and Facts.
      of Arbitration in that
26    plaintiffs (who are all        First, Plaintiffs do not make any
      respondents in the             allegations in the Notice of
27    arbitration) falsely allege    Arbitration, which was filed by
      that a conspiracy existed      Bronzelink, not Plaintiffs. Second,
28
                                                 2
                PLAINTIFFS’ EVIDENTIARY OBJECTIONS TO DECLARATION OF DOUGLAS MARTIN
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 1      Material Objected To:               Grounds for Objection:               Ruling
      among a number of              the Notice of Arbitration seeks the
 2    individuals (including         forced sale of Plaintiffs’ shares in
 3    Global-IP Cayman’s             GIP-Cayman for book value less
      lawyers, officers and          20%, which Plaintiffs have already
 4    directors) to violate          offered to do. Third, determination
      U.S. export control laws.”     of the book value of the shares has
 5                                   nothing to do with alleged violations
                                     of U.S. export control laws or any
 6                                   other issues in this litigation.
 7                                   Fourth, the assertion that Plaintiffs’
                                     allegations of a conspiracy to violate
 8                                   U.S. export control laws are false is
                                     pure argument and unsupported by
 9                                   anything appearing on the face of the
10                                   Notice of Arbitration. See Slevin,
                                     120 F. Supp. 2d. at 835-36
11                                   (declaration based on speculation is
                                     irrelevant and should not be
12                                   considered). Finally, contrary to
                                     Mr. Martin’s assertion, Plaintiffs
13                                   STM Group, Inc. is not a respondent
14                                   in the arbitration.

15    Decl. ¶ 3, p. 2, ll. 21-23:    Speculation and Argument (Fed. R.        ___ Sustained
                                     Evid. 602 & 701); see Slevin, 120
16    “Such a finding in this        F. Supp. 2d. at 835-36 (declaration
      litigation would almost        based on speculation is irrelevant       ___ Overruled
17    certainly negatively affect    and should not be considered).
18    Global-IP Cayman’s
      operations and business        Additionally, the potential injury
19    prospects.”                    alleged by Mr. Martin is irrelevant.
                                     See Ward v. Apple Inc., 791 F.3d
20                                   1041 (9th Cir. 2015) (speculative
21                                   claims of “potential” damage to
                                     reputational and contractual interests
22                                   are not legally protected interests
                                     warranting a stay).
23
      Decl. ¶ 3, p. 2, ll. 23-27:    Lack of Foundation (Fed. R. Evid.        ___ Sustained
24                                   403, 405, 601, 602 & 701);
      “[T]he arbitration seeks a
25    finding, inter alia, that      Best Evidence (Fed. R. Evid. 1002);      ___ Overruled
26    Respondents violated that
      Shareholders Agreement by      Misstates the Evidence and Facts.
27    making ‘false and pretextual
      assertions that the Company    The Notice of Arbitration seeks the
28    was at risk of violation       forced sale of Plaintiffs’ shares in
                                                 3
                PLAINTIFFS’ EVIDENTIARY OBJECTIONS TO DECLARATION OF DOUGLAS MARTIN
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 1       Material Objected To:             Grounds for Objection:                 Ruling
      and/or violated U.S. export    GIP-Cayman for a book value less
 2    laws.’ See, Exhibit A,         20%, which Plaintiffs have already
 3    para. 6. Thus, the primary     offered to do. Determination of the
      issue to be determined in      book value of the shares has nothing
 4    the arbitration is also the    to do with alleged violations of U.S.
      primary issue to be            export control laws or any other
 5    determined in this             issues in this litigation.
      litigation.”
 6
 7
      Decl. ¶ 3, p. 3, ll. 2-4:      Improper Legal Conclusion and           ___ Sustained
 8                                   Improper Opinion of a Lay Witness
      “Global-IP Cayman is           (Fed. R. Evid. 701).
 9    subject to potential                                                   ___ Overruled
      derivative liability and       Speculation and Argument (Fed. R.
10    direct indemnification         Evid. 602 & 701).
11    obligations as a result of
      the instant litigation.”
12
13
      Decl. ¶ 4, p. 3, ll. 5-6:      This request is not evidence,           ___ Sustained
14                                   GIP-Cayman is not a party to this
      “Global-IP Cayman              litigation and no such request has
15    requests that the Court stay   been made by Bronzelink, the only       ___ Overruled
16    the instant action pending     claimant in the arbitration. Nor has
      completion of the              GIP-Cayman filed or joined in a
17    arbitration proceedings.”      motion to stay this action.
                                     Accordingly, the request should be
18                                   stricken.
19
20
     Dated: January 4, 2019                  ISAACS | FRIEDBERG LLP
21
22
                                       By:    /s/ Jerome H. Friedberg
23                                           Jeffrey B. Isaacs, Esq.
                                             Jerome H. Friedberg, Esq.
24                                           Robert Gookin, Esq.
25                                           Attorneys for Plaintiffs STM Atlantic N.V.,
26                                           STM Group, Inc., Emil Youssefzadeh and
                                             Umar Javed
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